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WESTERN DISTRICT OF TENNESSEE iiij gii;'§~§ 2 ? p_,§g p. 6
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UNITED sTATEs 0F AMERICA gail y;,>_g;}_ ga ‘-§-53- §§;ch§
-L~¢i---“ l ‘l l` _ - id ;
-vs- Case No. 2:05cr20223-2-Ml
JENNIFER M. TROTTER

 

ORDER OF DETENT|ON PEND|NG TRIAL
FlND|NGS
ln accordance With the Bail Reform Act, 18 U.S.C. § 3142(1), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending tiial.

No condition or combination of conditions of release Will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

D|RECTIONS REGARD|NG DETENT|ON

JENNIFER A. TROTTER is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. JENNIFER A. TROTTER shall be afforded a reasonable
opportunity for private consultation with defense counsel On order ofa Court of the United States or on request of an
attorney for the government, the person in charge of the corrections facility shall deliver the Defendant to the United
States marshal for the purpose of an appearance in connection With a C urt roc

Date: June 21, 2005

 

"rU M. PHAM
UNiTED sTArEs MAGIsrRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:05-CR-20223 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

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Honorable J on l\/lcCalla
US DISTRICT COURT

